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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Richard Lacontora                                    :
             Plaintiff                               :
                                                     :
               v.                                    :
                                                     :
GENO Enterprises, LLC                                :
d/b/a Chick-Fil-A                                    :
               Defendant                             :

IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PENNSYLVANIA
                      CIVIL ACTION - LAW

Richard Lacontora                                    :       Docket No.: CV-2021-6681
             Plaintiff                               :
                                                     :
               v.                                    :
                                                     :
GENO Enterprises, LLC                                :
d/b/a Chick-Fil-A                                    :
               Defendant                             :

                                   NOTICE OF REMOVAL

TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT
COURT FOR THE EASTERN DISTRICT OF PENNSYLVANIA:

       Defendant, GENO Enterprises, LLC (hereinafter “Defendant”), by and through its attorneys,

Marshall Dennehey Warner Coleman & Goggin, hereby removes the above-captioned case to this

Honorable Court and provides notice of same to counsel representing the Plaintiff. In support of the

removal, the Defendant avers as follows:

       1.      On August 5, 2021, Plaintiff filed a complaint in the Court of Common Pleas of

Delaware County, Pennsylvania against Defendant, GENO Enterprises, LLC, styled Richard

Lacontora v. GENO Enterprises, LLC d/b/a Chick-Fil-A, Docket No. CV-2021-6681. Plaintiff’s

complaint is attached hereto as Exhibit A.

       2.      Defendant was served with Plaintiff’s complaint on August 16, 2021.
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        3.      As Defendant was served on August 16, 2021, Defendant has not yet filed an Answer

or other response to the Complaint. In filing this Notice of Removal, Defendant does not waive any

defense or counterclaim that may be available to it.

        4.      This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b) because it is

filed within thirty (30) days of August 16, 2021, when Defendant was served with the Complaint.

        5.      Count I of Plaintiff’s complaint, titled “Racial Discrimination in Violation of Title VII

of 42 U.S.C. §2000e, et seq.” alleges “Defendant Employer’s conduct as alleged at length herein

constitutes discrimination based on racial preference in violation of Title VII . . .” and “Defendant

Employer discriminated against Plaintiff in violation of Title VII by treating him differently . . .”

        6.      In addition, Count II of Plaintiff’s complaint, titled “Unlawful Retaliation in Violation

of Title VII” alleges “Defendant committed unlawful employment practices when it retaliated against

Plaintiff for his efforts to oppose practices reasonably believed to be prohibited by Title VII, in

violation of Title VII, 42 U.S.C. § 2000e-3(a)” and “Plaintiff is entitled to the rights and remedies at

law provided by Title VII and 42 U.S.C.§ 1981a, including actual damages, compensatory damages,

punitive damages, and attorney’s fees.”

        7.      This Court has original jurisdiction over this civil action pursuant to 28 U.S.C. § 1331,

and the action may be removed to this Court by Defendant pursuant to 28 U.S.C. § 1441. The

allegations set forth in the Complaint render this action a civil action arising under the Constitution,

laws or treatises of the United States.

        8.      When a plaintiff's complaint relies on federal law as the source of recovery, such as

here wherein Plaintiff requests damages pursuant to Title VII of the Civil Rights Act of 1964 as

amended, it is obvious that the case “arises under” federal law and therefore may be removed to

federal court. Franchise Tax Bd. v. Construction Laborers Vacation Trust, 463 U.S. 1, 9 (1983).
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          9.      Pursuant to 28 USC §1367(a), this Court has supplemental jurisdiction over the

remaining causes of action that are not within the original jurisdiction of the Court because the

remaining claims form the same case and/or controversy as the claims within the original jurisdiction

of the Court.

          10.     Written notice of this filing will be given to Plaintiff. Also, as required by 28 U.S.C.

§1446(d), a copy of this Notice of Removal will also be filed with the Prothonotary of the Court of

Common Pleas of Delaware County, Pennsylvania, the court in which the State Court Action was

filed.

         WHEREFORE, Defendant, GENO Enterprises, LLC, respectfully requests that the above

action, now pending in the Court of Common Pleas of Delaware County, Pennsylvania, be removed

therefrom and proceed in this Court as an action duly removed.

                                                 MARSHALL DENNEHEY WARNER
                                                  COLEMAN & GOGGIN


                                                 BY:
                                                         RONDA K. O’DONNELL
                                                         Attorney for Defendant

Dated: September 3, 2021
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                                CERTIFICATE OF SERVICE

       I, Ronda K. O’Donnell, Esquire, do hereby certify that a true and correct copy of the Notice

of Removal, was served upon the following via ECF unless otherwise indicated:

Joseph A. Malley, III, Esquire
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Attorney for Plaintiff


                                             MARSHALL DENNEHEY WARNER
                                              COLEMAN & GOGGIN


                                             BY:
                                                    RONDA K. O’DONNELL
                                                    Attorney for Defendant

Dated: September 3, 2021
